 Case: 4:24-cv-00425-MTS        Doc. #: 101 Filed: 12/03/24        Page: 1 of 2 PageID #:
                                          191



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

DANIEL HERRON,                                )
                                              )
            Plaintiff,                        )
                                              )
      vs.                                     )          Case No. 4:24-cv-00425-MTS
                                              )
TEARS OF EDEN, et al.,                        )
                                              )
            Defendants.                       )

                            MEMORANDUM AND ORDER

       Before the Court, through its subject matter jurisdiction under 28 U.S.C.

§ 1332(a)(1), is this four-count tort action arising under state law. The action presently is

before the Court on Defendants’ Motion to Dismiss, which seeks dismissal of Count II

and Count III of Plaintiff’s First Amended Complaint for failure to state a claim upon

which relief can be granted. See Doc. [77]; see also Fed. R. Civ. P. 12(b)(6). After a

complete review of the First Amended Complaint, the Motion to Dismiss and

Memorandum in Support, and the Memorandum in Opposition to the Motion, and after

considering the proper standard of review, the Court concludes that Count II and Count

III of Plaintiff’s First Amended Complaint state a plausible claim for relief.           See

Lustgraaf v. Behrens, 619 F.3d 867, 872–73 (8th Cir. 2010) (explaining standard of

review on motion to dismiss for failure to state a claim); Ashcroft v. Iqbal, 556 U.S. 662,

679 (2009) (“[A] complaint that states a plausible claim for relief survives a motion to

dismiss.”).

       Accordingly,
 Case: 4:24-cv-00425-MTS     Doc. #: 101 Filed: 12/03/24    Page: 2 of 2 PageID #:
                                       192



      IT IS HEREBY ORDERED that Defendants’ Motion to Dismiss, Doc. [77], is

DENIED. All claims within Plaintiff’s First Amended Complaint remain.

      Dated this 3rd day of December 2024.



                                      MATTHEW T. SCHELP
                                      UNITED STATES DISTRICT JUDGE




                                       -2-
